                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE




UNITED STATES OF AMERICA,                               )
                                                        )
v.                                                      )      No. 3:05-CR-142
                                                        )      (Phillips)
ROBERT L. SMITH                                         )



                                         ORDER

              For the good cause stated, defendant’s motion to continue the sentencing

date and for an extension of time to file objections to the presentence investigation report

[Doc. 65] is GRANTED. The parties are DIRECTED to contact Janet Jackson, Courtroom

Deputy, to reschedule the sentencing hearing.



                                          ENTER:




                                                 s/ Thomas W. Phillips
                                               United States District Judge




Case 3:05-cr-00142-PLR-CCS        Document 68      Filed 03/30/06    Page 1 of 1     PageID
                                        #: 38
